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                   AFFIDAVIT IN SUPPORT OF ARREST WARRANTS

       1.      Your affiant, Nicole Miller, is a Special Agent with the Federal Bureau of

Investigation (FBI) and has been so employed since 2019. Prior to being employed with the FBI,

I was a Special Agent with the Florida Department of Law Enforcement (FDLE) from 2016-2019

and a Police Officer with the Kissimmee Police Department (KPD) from 2010-2016. During that

time, I investigated kidnappings, homicides, bank robberies, felon in possession violations,

domestic terrorism investigations, and threat-to-life violations. I prepared and assisted in the

preparation of court orders and search warrant applications. Additionally, during the course of

these and other investigations, I conducted or participated in physical and electronic surveillance,

assisted in the execution of search and arrest warrants, debriefed informants, interviewed witnesses

and suspects, and reviewed other pertinent records. As a Special Agent, I am authorized by law

or by a Government agency to engage in or supervise the prevention, detection, investigation, or

prosecution of violations of Federal criminal laws. In addition to my regular duties, I am currently

also tasked with investigating criminal activity that occurred in and around the Capitol grounds on

January 6, 2021.

       2.      I submit this affidavit solely for the purpose of establishing probable cause to

believe that Isaiah GIDDINGS, Brian HEALION, and Freedom VY (collectively, “Defendants”)

committed violations of 18 U.S.C. § 1752(a)(1) and (2) and 40 U.S.C. § 5104(e)(2)(D) and (G) on

or about January 6, 2021, in Washington, D.C. It does not contain all facts known to law

enforcement or to me regarding this investigation.

                           January 6, 2021 Breach of the U.S. Capitol

       3.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by



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U.S. Capitol Police. Only authorized people with appropriate identification are allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       4.      On January 6, 2021, a joint session of the U.S. Congress convened at the U.S.

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the U.S. House of Representatives and the U.S. Senate were meeting in separate

chambers of the Capitol to certify the vote count of the Electoral College of the 2020 Presidential

Election, which had taken place on November 3, 2020. The joint session began at approximately

1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate adjourned to

separate chambers to resolve a particular objection. Vice President Mike Pence was present and

presiding, first in the joint session, and then in the Senate chamber.

       5.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

       6.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking

windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.




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       7.      Shortly thereafter, at approximately 2:20 p.m., members of the U.S. House of

Representatives and U.S. Senate, including the President of the Senate, Vice President Mike Pence,

were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the U.S.

Congress was effectively suspended until shortly after 8:00 p.m. Vice President Pence remained

in the U.S. Capitol from the time he was evacuated from the Senate chamber until the session

resumed.

       8.      During national news coverage of the aforementioned events, video footage,

including that captured on mobile devices of persons present on the scene, depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

                                 GIDDINGS, HEALION, and VY

       9.      Isaiah GIDDINGS was born in 1992 and resides in Philadelphia, Pennsylvania.

       10.     Brian HEALION was born in 1990 and resides in Upper Darby, Pennsylvania.

       11.     Freedom VY was born in 1985 and resides in Philadelphia, Pennsylvania.

       12.     On March 17, 2021, Zachary Rehl, a resident of Philadelphia, Pennsylvania, was

arrested on charges related to the January 6, 2021, breach of the U.S. Capitol.1 Pursuant to legal

process, law enforcement searched the contents of a phone belonging to Zachary Rehl that was

obtained at the time of his arrest.

       13.     Among the contents of Rehl’s phone was a group text message chain (hereinafter

the “Group Text”) that included Rehl and four other individuals: GIDDINGS (XXX-XXX-8081;

listed in Rehl’s contacts as “Issah Pb”), HEALION (XXX-XXX-8751; listed as “Tormond PB”),

VY (XXX-XXX-3663; listed as “Ross Bob (freedom) pb”), and a fifth individual (hereinafter



1
       Rehl is charged in the District of Columbia in Case No. 21-cr-175-3.
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Person 1).2

       14.     Rehl’s phone also contained content from Telegram message strings that included

GIDDINGS, HEALION, and VY, among others. Rehl’s Telegram handle was “Captain Trump.”

The Telegram handles for GIDDINGS (“Issah PB”), HEALION (“Tormond PB”), and VY

(“Freedom Pb”) are consistent with the names listed in Rehl’s phone contacts. The Defendants

were all members of a Telegram message group that was created by Rehl (hereinafter “Rehl

Telegram Group”), which contained messages from as early as November 19, 2020, to at least

February 2, 2021, including messages related to the events of January 6, 2021, at the U.S. Capitol.

                 Coordinated Travel to Washington, D.C. on January 5, 2021

       15.     At 2:52 p.m. on January 5, 2021, Person 1 requested emergency contact information

and blood types from the other individuals on the Group Text. In response, GIDDINGS provided

his blood type and multiple contacts, including a file containing the name, phone number, and

photograph of a sibling. VY provided his blood type and the name and phone number of a sibling.

HEALION provided the name, phone number, and address of his fiancé. HEALION also wrote,

“Not sure the blood type I’m trying to find out,” to which Person 1 responded, “Ok brian gotcha.”

Rehl also provided his blood type and the name and phone number of his wife.

       16.     Listed below are the sender, content, and time (converted from UTC to EST) of

selected additional messages in the Group Text on January 5, which appear to reflect Rehl,



2
        Based on the content of the communications in the Group Text and other evidence gathered
during this investigation, it appears that “PB” and “Pb” are references to “Proud Boys,” and that
GIDDINGS, HEALION, and VY (as well as Rehl and Person 1) were known to each other at least
in part based on their common membership in the Philadelphia chapter of the Proud Boys, an
organization that defines itself as a “pro-Western fraternal organization for men who refuse to
apologize for creating the modern world; aka Western Chauvinists.” As alleged in the First
Superseding Indictment in Rehl’s case, Rehl was the president of the Philadelphia chapter of the
Proud Boys. This affiliation information is included because it is relevant to context and
identification. Person 1 was not physically present in Washington, D.C., on January 6, 2021.
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GIDDINGS, HEALION, and VY coordinating their travel from Philadelphia to Washington, D.C.

that evening:

       VY:             “Im headed out soon, gotta grab a few things , freshen up and get
                       brian” (3:12pm)
       VY:             “We'll be ready for pickup at 5” (3:12pm)
       VY:             “[VY’s Street Address], Philadelphia pa 19142 (3:13pm)
       Person 1:       “Im not going” (3:13pm)
       HEALION:        “Hey free3 after we meet what is the plan to have Zach pick us up
                       from your house are we going to his house and heading out from
                       there” (3:46pm)
                                      ***
       Rehl:           “Im ready my dudes” (3:53pm)
       GIDDINGS:       “I’m at [Person 1’s first name]’s I’m ready” (3:53pm)
                                      ***
       GIDDINGS:       “I’m jumping in the shower now Zach” (4:22pm)
       Rehl:           “Im my way to get issah, had to get the radios from the legion”
                       (5:04pm)
                                      ***
       GIDDINGS:       “Ok im ready Pres to come when you get here” (5:04pm)
       Rehl:           “Ok” (5:07pm)
       Rehl:           “28 mins” (5:25pm)
       Rehl:           “I’m here” (5:50pm)
       Person 1:       “Hows it going guys” (7:49pm)
       GIDDINGS:       “Great so far hour away from DC” (7:51pm)
       Person 1:       “OK” (7:59pm)

       17.      According to records obtained from the Darcy Hotel in Washington, D.C., Rehl

checked into the hotel on January 5, 2021, with three accompanying guests, who were listed on

the hotel records as “Healion, Brian”; “Giddings, Isaiah”; and “Yeng, Joseph.”4

     Conduct on January 6, 2021, and Identifications of GIDDINGS, HEALION and VY

       18.      At 9:47 a.m. on January 6, 2021, Person 1 sent two voice messages to the Group

Text. The first stated, “Hey y’all have a good day. Dress warm. I love y’all. Be safe. Love

y’all.” The second stated, “And whatever info I come across today I’ll get out to you Zach, get it



3
       In writing “Hey free,” HEALION appears to be addressing Freedom VY.
4
       Your affiant submits that “Yeng, Joseph” is likely an alias for VY.
                                                5
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out to wherever it needs to go. Just let me know where it needs to go.”

       19.     At 10:30 a.m., HEALION sent the below photograph to the Rehl Telegram Group,

showing two individuals near the Washington Monument that morning.




       20.     Based on my comparison of this image to photographs of VY and HEALION

obtained from government databases—and the similarity in appearance of the individuals in the

above image and database photographs—I submit that there is probable cause that the above image

depicts VY (on the left) and HEALION (on the right). This identification of VY and HEALION

is corroborated by, among other things, the fact that the photograph appears to be a “selfie” taken

by HEALION and was posted from HEALION’s account, as well as the evidence establishing

HEALION and VY’s coordinated activity on January 5 and 6, 2021.

       21.     During the course of the investigation, law enforcement interviewed a witness

(hereinafter W-1) who had a prior association with VY. W-1 was shown a photo array of more

than ten individuals that included a photograph of VY. W-1 identified VY in the photo array as a

person known to W-1 as “Free” or “Freedom.” Thereafter, W-1 was shown the above image and


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confirmed that the person depicted on the left is the person known to W-1 as “Freedom.”

       22.     W-1 also had a prior association with HEALION. W-1 was shown a photo array

of more than ten individuals, including HEALION. W-1 identified HEALION in the photo array

as “Brian.” Thereafter, W-1 was also shown the above image and confirmed that the person

depicted on the right is the person known to W-1 as “Brian.”

       23.     Shortly before 1:00 p.m. on January 6, 2021, a large crowd gathered near the

pedestrian entrance to the Capitol grounds on First Street. The entrance, located near the Peace

Monument, was secured by a small number of U.S. Capitol Police, who stood behind a waist-high

metal barrier. The image below, which is a screen shot from publicly available video, depicts this

scene, looking toward the U.S. Capitol from near the Peace Monument.




       24.     Shortly after the above image was captured on video, two men advanced toward

the waist-high metal gate. The crowd followed, and within minutes, the crowd overwhelmed the

U.S. Capitol Police seen at the top of the steps in the image above, advancing on the Capitol. Near

the entrance to the plaza to the west of the Capitol (“West Plaza”), U.S. Capitol Police were

guarding another set of barricades, along with more permanent fences. Shortly thereafter, rioters

again overwhelmed the officers, entering the West Plaza, ultimately reaching the elevated terrace

(“Upper West Terrace”) where they were able to enter the building as described further above.
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       25.     Immediately below is a photograph recovered from Rehl’s phone that depicts Rehl

(on the left, wearing goggles, a camouflage hat, and black clothing) and others posing on the Upper

West Terrace of the U.S. Capitol during the breach.




       26.     Based on my comparison of this image to photographs of GIDDINGS obtained

from government databases—and the similarity in appearance of the individual circled in yellow

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above and database photographs of GIDDINGS—I submit that there is probable cause that the

individual circled in yellow is GIDDINGS.

        27.    W-1 also had a prior association with GIDDINGS. W-1 was shown a photo array

of more than ten individuals, including GIDDINGS. W-1 identified GIDDINGS in the photo array

as “Isaiah.” Thereafter, W-1 was also shown the above image and confirmed that the person

circled in yellow is the person known to W-1 as “Isaiah.”

        28.    Kneeling in the front left of the image is the person identified above as VY, as

evidenced by his facial appearance, clothing, and American flag gaiter.

        29.    Kneeling on the front right is the person identified above as HEALION, although

his face is obscured by dark goggles and a black gaiter. Several facts support the conclusion that

this person is HEALION, including: the red hat, black gaiter, gray hoodie, and dark lanyard with

white writing, all of which are consistent with the image further above in which HEALION’s face

is visible.

        30.    At 7:01 p.m. on January 7, 2021, Rehl posted the below image to the Rehl Telegram

Group along with the statement, “Badass pic in DC.” The image depicts Rehl, who is in the

foreground and appears to be taking the photograph as a “selfie.” On the left side of the image,

wearing a red hat and an American flag gaiter is the person identified above as VY. On the right

side of the image, wearing a camouflage hat, blue or gray gaiter, gray shirt, and plaid jacket is the

person identified above as GIDDINGS. Standing behind GIDDINGS, wearing a red hat, goggles,

and black gaiter, is an individual that I believe to be HEALION, based on his clothing, including

the dark lanyard with white writing, and his proximity to Rehl, GIDDINGS, and VY, consistent

with other photographs in this affidavit.




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       31.     GIDDINGS, HEALION, and VY, as well as Rehl, entered the U.S. Capitol from

the west side of the building near the U.S. Senate, and images and video depict them inside the

building at various locations. The image immediately below, recovered from Rehl’s phone, was

sent by text from HEALION (using his XXX-XXX-8751 number) to Rehl. This photograph

depicts from left to right, HEALION, VY, Rehl, and GIDDINGS, all of whose appearance is

consistent with other images of these individuals on January 6, 2021, inside the office of U.S.

Senator Jeff Merkley (Oregon) during the breach. Although HEALION’s face is obscured, he is

identifiable based on his clothing—in particular, the lanyard (the text of which matches that in the

image above showing HEALION’s face)—and his proximity to GIDDINGS, VY, and Rehl. This

identification is further corroborated by the fact that HEALION texted this image to Rehl.



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       32.     At other moments inside the U.S. Capitol, GIDDINGS and VY can be seen in

publicly available videos with their gaiters lowered, showing their full faces, as in the two images

below, with GIDDINGS on the left and VY on the right.




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       33.    According to records obtained from the Darcy Hotel in Washington, D.C., Rehl

checked out of the Darcy Hotel on January 7, 2021. At 11:04 a.m. on January 7, 2021, Person 1

texted “Yo yo how u guys doing” to the Group Text, which led to the following messages:

       VY:           “Checking out on our way home (11:05am)
       Person 1:     “Ok” (11:05pm)
       Person 1:     “B safe” (11:05pm)
       Person 1:     “All accounted for” (11:05am)
       GIDDINGS:     “Yes we have everything and everyone all accounted for all safe a
                     few bruise but we expected that none of our Philly guys had any PB
                     gear the entire event just plain trump supporters from beginning to
                     end thank for the constant check ups and the law enforcement and
                     news updates really really funkin helpful see you when I get back”
                     (11:33am)
       Person 1:     “Np bro just doing what can to keep my family safe.”

       34.    Based on the foregoing, your affiant submits that there is probable cause to believe

that GIDDINGS, HEALION, and VY violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a

crime to (1) knowingly enter or remain in any restricted building or grounds without lawful

authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of

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Government business or official functions, engage in disorderly or disruptive conduct in, or within

such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,

impedes or disrupts the orderly conduct of Government business or official functions; or attempts

or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a

posted, cordoned off, or otherwise restricted area of a building or grounds where the President or

other person protected by the Secret Service, including the Vice President, is or will be temporarily

visiting; or any building or grounds so restricted in conjunction with an event designated as a

special event of national significance.

       35.     Your affiant submits there is also probable cause to believe that the GIDDINGS,

HEALION, and VY violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to

willfully and knowingly: (D) utter loud, threatening, or abusive language, or engage in disorderly

or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent

to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of

Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a

committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any

of the Capitol Buildings.

                                                      Respectfully,


                                                      Nicole Miller
                                                      Special Agent
                                                      Federal Bureau of Investigation


Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on December 8, 2021
                   2021.12.08
                   15:07:02 -05'00'
_________________________________________
ROBIN M. MERIWEATHER
UNITED STATES MAGISTRATE JUDGE

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